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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION
                                                   CASE NO: 6:19-bk-04641-CCJ
In re:
                                                   CHAPTER 7
ALEXIS IDILIO CAMACHO,

         Debtor
                                             /


                               SUNTRUST BANK'S
                  MOTION FOR RELIE F FRO M THE AUTOMATIC STAY

                            (Re: 146 Harlon Ct, Raeford, NC 28376)


NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING Pursuant to

       Local Rule 2002-4, the Court will consider this the relief requested in this
paper without further notice or hearing unless a party in interest files a response within 21
days from the date set forth on the attached proof of service, plus an additional three days
for service if any party was served by U.S. Mail.

If you object to the relief requested in this paper, you must file a response with the Clerk of
the Court at 400 W. Washington Street, Suite 5100, Orlando, FL 32801, and serve a copy
on the movant’s attorney, Patrick Hruby , Esq., at Brock & Scott, PLLC, 2001
Northwest 64th Street, Suite 130 Fort Lauderdale, FL 33309, and any other appropriate
persons within the time allowed. If you file and serve a response within the time permitted,
the Court will either schedule and notify you of a hearing, or consider the response and grant
or deny the relief requested without a hearing.

If you do not file a response within the time permitted, the Court will consider that you do
not oppose the relief requested in the paper, will proceed to consider the paper without
further notice or hearing, and may grant the relief requested.


         SUNTRUST BANK, its successors and assigns ("Secured Creditor"), b y and through its

undersigned counsel, files this Motion for Relief from the Automatic Stay, and in support thereof

states as follows:

1.       The Court has jurisdiction over this matter pursuant to 11 U.S.C. § 362, Fed. R. Bankr. P.

4001(a) and the various other applicable provisions of the United States Bankruptcy Code,



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Federal Rules of Bankruptcy Procedure and the laws of the United States of America.

2.         On July 16, 2019, ALEXIS IDILIO CAMACHO (“Debtor” as used herein will refer to a

single or multiple Debtors), filed a voluntary petition pursuant to Chapter 7.

3.      Secured Creditor holds a security interest in the Debtor's real property located at 146

Harlon Ct, Raeford, NC 28376 (the “Property”), by virtue of a Deed of Trust which is recorded

in Official Records Book 00738, Page 0749, of the Public Records of Hoke County, North Carolina

(the “Deed of Trust”).      The Deed of Trust secures a Note in the amount of $209,697.00 (the

“Note”).     A copy of the Deed of Trust, together with the Note and Assignment, as applicable, is

attached hereto as Exhibit A.

4.          The Deed of Trust gives Secured Creditor a lien on the Propert y, which is legally

described as:

             Being all of Lot 360, in a subdivision known
                       as The Oaks at Westgate
         Section 2, according to a plat of the same being duly
                       recorded in Plat Cabinet
        3, Slide 3-38, Map 5, Hoke County Registry, North Carolina.

5.          The Propert y has not been claimed exempt by the Debtor. The Property has not been

abandoned by the Trustee.

6.            According to the Chapter 7 Individual Debtor’s Statement of Intention, the Debtor is

surrendering the Property. As of August 5, 2019, the Debtor is indebted to Secured Creditor in the

amount of $190,861.03 principal balance, with interest accruing, plus other fees and costs

advanced by Secured Creditor pursuant to the loan documents, the total outstanding debt as of July

16,2019 is $297,969.23. Payments pursuant to the Deed of Trust have been in default since June 1,

2013.


7.      According to the Debtor’s Schedule A, the value of the Property is $200,000.00.

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8.        Secured Creditor's interest in the Property is being significantly jeopardized by the

Debtor's failure to make regular Deed of Trust payments while Secured Creditor is prohibited

from pursuing its lawful remedies to protect such interest.         Thus, the Debtor has failed to

adequatel y protect the interest of Secured Creditor.

9.       In addition, because this is a Chapter 7 case, the Property is not necessary to an effective

reorganization.

10.    Therefore, Secured Creditor maintains that cause exists pursuant to 11 U.S.C. § 362(d)(1)

and/or § for the automatic stay to be lifted.

11.       Pursuant to 11 U.S.C. § 362(e), Secured Creditor requests that, in the event a hearing is

necessary, said hearing be held within thirt y (30) days.

12.      Secured Creditor has incurred attorneys' fees of $750.00 and costs of $181.00 as a result

of the necessity of filing this Motion.     Said fees and costs are recoverable as part of the debt

pursuant to the loan documents but shall not be a personal liability of the Debtor.

13.      Secured Creditor requests that an y communication by Secured Creditor in connection

with proceeding against the property including, but not limited to, notices required b y state law

and communications to offer and provide information with regard to a potential forbearance

agreement, loan modification, refinance agreement, loss mitigation agreement or other loan workout,

may be sent directly to the Debtor. Because Debtor has indicated an intention to surrender

the Property, Secured Creditor requests that the Court waive the fourteen (14) da y stay set forth

in Bankruptcy Rule 4001(a)(3), so that Secured Creditor can pursue its in rem remedies without

further delay.

       WHEREFORE, Secured Creditor, and its successors and assigns, respectfully requests




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      that the automatic stay be lifted so that Secured Creditor may be permitted to protect its

      security interest in the Property outside the bankruptcy forum; that in the event a hearing

      is necessary, said hearing be held within thirty (30) days; that Secured Creditor's attorneys'

      fees and costs incurred in filing this Motion be recoverable as part of the debt pursuant to

      the loan documents under the remedies available therein but shall not be a personal liabilit y

      of the Debtor; that Secured Creditor be permitted to contact the Debtor for the reasons stated;

      that the fourteen (14) day stay set forth in Bankruptcy Rule 4001(a)(3) be waived; and such

      other and further relief as the Court may deem just and proper.



                                           BROCK & SCOTT, PLLC
                                           Attorney for Secured Creditor
                                           2001 Northwest 64th Street, Suite 130
                                           Fort Lauderdale, FL 33309
                                           Phone: 813-342-2200
                                           Fax: 954-618-6954
                                           Floridabklegal@Brockandscott.com

                                           /s/ Patrick Hruby

                                             PATRICK HRUBY, ESQUIRE
                                             Florida Bar No. 0088657


        I HEREBY CERTIFY that a true copy hereof has been served electronically or via U.S.

mail, first-class postage prepaid, to:

The following persons w ere served b y U.S. mail:

Debtor
ALEXIS IDILIO CAMACHO
101 Dublin Drive
Lake Mar y, FL 32746



The following persons w ere served b y e-mail


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  Debtor’s Counsel
  Erin L. Greene
  319 South Elm Avenue, Suite 2
  Sanford, FL 32771
  Email: erin@eringreene.com

  Trustee
  Marie E. Henkel, Trustee
  3560 South Magnolia Avenue
  Orlando, FL 32806

  U.S. Trustee
  United States Trustee - ORL7/13, 7
  Office of the United States Trustee
  George C Young Federal Building
  400 West Washington Street, Suite 1100
  Orlando, FL 32801

       this 4th dayof September, 2019.
                                           BROCK & SCOTT, P LLC
                                           Attorneyfor Secured Creditor
                                           2001 Northwest 64th Street, Suite 130
                                           Fort Lauderdale, FL 33309
                                           Phone: 813-342-2200
                                           Fax: 954-618-6954
                                           Floridabklegal@Brockandscott.com

                                            /s/ Patrick Hruby

                                           PATRICK HRUBY, ESQUIRE




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Exhibit A
                                                                                                        C < 1¥flcoho
                                                             N O TE                        CAMACHO
                                                                                           L OA N #:
                                                                                           MIN:
                                                                                           CA SE #:


   N O T IC E : T H IS L O A N IS N O T A SSU M A B L E
   W IT H O U T      TH E     A PPR O VA L    OF     TH E
   D E PA R T M E N T O F V E T E R A N S A F FA IR S O R
   IT S A U T H O R IZ E D A G E N T .


N O V EM B ER 6 , 2 0 06                           FA Y E T T E V I L L E                                 NORTH CAROLINA
            [D ate]                                         [C ity]                                           [State]
1 4 6 H A R L O N CO U R T ,   RAEFORD,         N C 28 3 76

                                                         [Property A ddress]
1. B O R R O W E R 'S P R O M IS E T O P A Y
        In return for a loan that I h ave received, I prom ise to pay U .S. $ 2 0 9,697.0 0            (this am oun t is called
     n
"Pri ci pal"),   plus  interest, to th e order ofthe Lender. T he L end er is C A R O L I N A M O R T G AGE CO . OF
FA Y E T T E V I L L E


I w ill m ake all paym ents under this N ote in the form ofcash, check or m oney order.
         I understand that the L ender m ay transfer this N ote. T he L ender or anyone w ho takes this N ote by transfer
and w ho is entitled to receive paym ents under this N ote is called the "N ote H older."
2 . IN T E R E S T
         Interest w ill be charged on unpaid principal until the full am ount of P rincipal has been paid. I w ill pay
interest atayearlyrate of 6.250             %,
         T he interest rate required by this Section 2 is the rate I w ill pay both before and after any default d escribed
in Section 6(B ) ofthis N ote.
3. P A Y M E N T S
         (A ) T im e an d P lace o f P aym en ts
         I w ill pay principal and interest by m akin g a paym ent every m onth.
         Iw illm akem ym onthlypaym entonthe 1ST dayofeach m onth beginning on J ANU ARY 1 , 20 0 7
   w
 I i  ll m ake these paym ents every m onth until I have paid all ofthe principal and interest and any other charges
described below that I m ay ow e under this N ote. E ach m onthly paym ent w ill be applied as of its scheduled d ue
date and w ill be applied to interest before P rincipal. If, on D E C E M B E R 1, 20 36            , I still ow e am ounts under
this N ote, I w ill pay those am ounts in full on that date, w hich is called  the "M  aturity D  ate. "
         I w ill m ake m y m on thly paym ents at      6920    C LI FF DAL  E   R OA D  , FA  Y E T T E VILLE ,
N C 283 14
or at a different place ifrequired by the N ote H older.
         (B ) A m ount ofM onthly P aym ents
          M y m onthly paym entw ill be in the am ount ofU ,S, $ 1,291 . 14
4. B O R R O W E R 'S R IG H T TO PR E PA Y
         I have the right to prepay at any tim e, w ithout prem ium or fee, the entire debt evidenced by this N ote, or
any part thereof not less than the am ount of one installm ent, or $100.00, w hichever is less. A ny prepaym ent in
 full ofthe debt shall be credited on the date received, and no interest m ay be charged after that date. A ny partial
 prepaym ent m ade on any day other than an installm ent due date need not be credited until the next follow ing
 installm ent due date or 30 days after the date ofthe partial paym ent, w hichever is earlier.


M U LT ISTA T E FIX E D R A T E N O T E -Single F am ily-F annie M ae/F reddie M ac U N IFO R M IN ST R U M E N T   Form 3200 1/01
                                                      (page l of3 pages)                                            M odified for V A
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5. L O A N C H A R G E S
                                                                                                                                                                  that the
         Ifa law , w hich applies to this loan and w hich sets m axim um loan charges, is finally interpreted so
                                                                                    in  connecti      on   w ith   this   loan    exceed       the  perm     itted  lim its,
interest or other loan charges collected or to be collected
                          loan   charge     shall   be   red  uced     by    the   am  ount     necessary        to  reduce       the    charge     to   the    perm  itted
then : (a) any such
                                                                                                      p erm   itted   lim  its   w  ill  b e  refunded        to m  e. T he
lim it; and (b) any sum s already collected from m e w hich exceeded
                                                       refund       by   reduci    ng   the    Pri  nci  pal   I  ow  e   under      this   N  ote   or   by    m aki ng   a
N ote H older m ay choose to m ake this
                ent to  m e.  If a refund     reduces     Pri ncipal    ,  the   reduction       w  ill be  treated     as   a  partial    Prepaym       ent.
direct paym
6. B O R R O W E R 'S F A IL U R E T O P A Y A S R E Q U IR E D
         (A ) L ate C h arge fo r O verd u e P aym en ts
                                                                                                                                                        15
          Ifthe N ote H older has not received the full am ount ofan y m onthly paym ent by the end of
                                                          l pay     a late    charge     to  the    N  ote  H  older.    T he    am   ount    of  the   charge     w ill be
calendar days after the date it is due, I w il
                          of  m  y  overdue      paym     ent.    I  w  ill  pay     this    late    charge     prom    ptl  y   but     onl y   once      on each late
4.0 0 0               %
paym ent.
          (B ) D efau lt
                                                                                                                                                            t.
          IfI do n ot pay the full am ount ofeach m onthly paym ent on the d ate it is d ue, I w illbe in d efaul
         (C ) N o tice o f D efau lt
                                                                                                                                                     pay the overdue
          If I am in default, the N ote H older m ay send m e a w ritten notice telling m e that if I do not
                                                                                                          edi atel  y  the    ful l  am   ount    of  Principal w hich
 am ount by a certain date, the N ote H older m ay require m e to pay im m
                                                            ow   e  on   that   am   ount.    T  hat   d ate  m  ust  be    at  least    30  d  ays   after   the date on
h as n ot been paid and all the interest that I
 w hich the notice     is m  ailed  to  m  e  or del  ivered    by    other    m  eans.
          (D ) N o W aiver B y N o te H o ld er
                                                                                                                                                               y in full as
          E ven if, at a tim e w hen I am in default, the N ote H older does not require m e to pay im m ediatel
                                                                                                                           t  at  a  later   tim  e.
 described above, the N ote H older w ill still have the right to do so ifI am in defaul
          (E ) P aym en t o f N o te H o ld er's C o sts an d E xp en ses
                                                                                                                                                                  der w ill
          If the N ote H older has required m e to pay im m ediately in full as described above, the N ote H ol
                                                                                                              in   enfor   ci ng    this   N  ote   to   the    extent   n ot
 have the right to be p aid back by m e for all of its costs and expenses
                                                               s  incl  ude,    for   exam    ple,    reason    abl e  attorne     ys'   fees.
 prohibited by applicable law . T hose expense
 7. G IV IN G O F N O T IC E S
                                                                                                                                                          this N ote w ill
          U nless applicable law requires a different m ethod, any notice that m ust be given to m e under
                                   or  by   m  ailing   it by    first   class    m  ail  to   m  e  at  the   Property       A  ddress      above     or   at a different
 be given by delivering it
 address ifI give the N ote H older a notice ofm y different address.
                                                                                                                                                               ng it or by
           A ny notice that m ust be given to the N ote H older under this N ote w ill be given by deliveri
                           class   m  ail  to  the   N ote    H  ol der     at  the   addres     s   stated    in   Secti  on     3(A   )  above      or at a different
 m ailing it by first
 address ifI am given a notice ofthat different address.
 8 . O B L IG A T IO N S O F P E R S O N S U N D E R T H IS N O T E
                                                                                                                                                    to keep all of the
           If m ore than one person signs this N ote, each person is fully and personally obligated
                                                                            to   pay   the    ful  l am   ount    ow  ed.   A   ny   person      w  ho   is a guaran tor,
 prom ises m ade in this N ote, including the prom ise
                          of  this  N  ote  is  also   obl i gated     to   do   these     things.     A ny   person      w  ho    takes     over   these      obligations,
 surety or endorser
                                                                                               of   this   N ote,    is   al so   obl   igated     to   keep     all of the
 including the obligations of a guarantor, surety or endorser
                                                             H  ol der     m  ay    enforce       its   rights    under      this     N  ote    agai  nst    each    person
  prom ises m ade in this N ote. T he N ote
               ly or  against   all  of us   together.     T hi s   m  eans    that   any    one     of  us  m  ay   be  required        to  pay    al l ofthe am ounts
  individual
  ow ed under this N ote.
  9. W A IV E R S
                                                                                                                                                     ent and N otice of
           I and any other person w ho has obligations under this N ote w aive the rights ofP resentm
                                                    right   to  require       the  N  ote   H  ol  der   to  dem    and   paym      ent   of   am  ounts     due. "N otice
  D ishonor. "P resentm ent" m eans the
                                                                                                                         persons       that   am   ounts     due   have not
  ofD ishonor" m eans the right to require the N ote H older to give notice to other
  been paid.
              A L L O N G E , R ID E R , A D D E N D U M , A T T A C H M E N T O R                                             O TH ER             M O D IF IC A T IO N
  10 .
  (H E R E IN A F T E R R E F E R R E D T O A S A L L O N G E ) T O T H IS N O T                             E
                                                                                                                                      i          ation, is executed by
           If an allonge providing for paym ent adjustm ents, or for any other supplem ental nform
                    w ith  this   N  ote,   the    covenant     s    of   the    al longe      shal   l  be    incorpor     ated      into    and shall am end and
  m e together
  supplem ent the covenants ofthis N ote as ifthe allonge w ere a part ofthis N ote.
   11. U N IF O R M S E C U R E D N O T E
                                                                                                                                                        addition to the
            T his N ote is a uniform instrum ent w ith lim ited variations in som e jurisdictions. In
                                                                          ote,    a  M  ortgage,       D  eed   of   Trust     or   Securi    ty  D eed     (the "Security
   protection s given to the N ote H older under this N
                            the  sam   e  date   as  this  N  ote,    protects     the   N  ote    H  ol der  from     possi    bl e   losses    w hi ch m ight result if
   Instrum ent"), dated
                                                                                                                                         ibes how and under w hat
   1 do not keep the prom ises w hich I m ake in this N ote. T hat Security Instrum ent descr
                                                  ake   im  m  ediate      paym    ent    in  full    of  all  am   ounts     I  ow   e  under this N ote. Som e of
   conditions I m ay be required to m
   those conditions are described as follow s:
                                                                                      d ie M ac U N IF O R M IN S T R U M E N T                         F orm 3200 1/01
  M U L T IS T A T E F IX E D R A T E N O T E -S in gle F am ily-F an n ie M ac/F red                                                                   M odified for V A
  D O C U V N S2                                               (page 2 O f3 pages)
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                         Ifallor any part ofthe Property or any Interest in the Property is sold or transferred (or if
                 B orrow er is not a natural person and a beneficial interest in B orrow er is sold or transferred)
                 w ithout Lender's prior w ritten consent, Lender m ay require im m ediate paym ent in full of all
                 sum s secured by this Security Instrum ent. H ow ever,this option shallnotbe exercised by Lender
                 ifsuch exercise is prohibited by A pplicable L aw .
                         If L ender exercises this option, Lender shall give B orrow er notice of acceleration. The
                 notice shall provide a period of not less than 30 days from the date the notice is given in
                 accordance w ith Section 15 w ithin w hich B orrow er m ust pay all sum s secured by this Security
                 Instrum ent. If B orrow er fails to pay these sum s prior to the expiration of this period, Lender
                 m ay invoke any rem edies perm itted by this Security Instrum ent w ithout further notice or
                 dem and on B orrow er.




     W IT N E SS TH E H A N D (S) A N D SE ¢L C S) O F T H E U N D E R SIG N E D


      - B OR RO WE R ·- A L E X I S I C A M A C H ~ fi A T E - ~ A K X A le xis Id ilio C am ach
                                                      j:)                                        o
                        by D am aris C am acho A IF




                                                                                    W itho ut P.
                                                                                               , A
                                                                               P A Y T p T H E e uo ur ge
                                                                                               OR
                                                                                               n DER OF
                                                                                                             i

W ITHO U T RECO U RSE, PAY TO TH E O RDER O F                                  Sur                       1

         SUP#TI OST MORTG AGE, INC.                                        r                  w   'y ' P ier
                                                                                                             :4 -.-       An i~ ~

         ti@*Bi P *81&, Vice Pmaident




                                                                                                                         [S ign O riginalO nly]
    P A Y T O TH E O RD ER O F
    S UN T RU S T M O R T GAG E , I NC.
    W I T H O U T R E C O U R S E O N US
    C A R O L I N A M O R T GA G E C O O F
    FAYETTEVILL E
    BY: 1 ~ ~ ~ 4 7 4 2 4 1 < ~ «
                D AV 11.) W .   A L.LK ED ,
                PRESIDENT




    M U L 'FISTA T E FIX E D R A T E N O T E --Single F am ily-F annie M ae/Freddie M ae U N IFO R M IN ST R U M E N T              F o rm 320 0 1/0 1
    D O C IJVN S]
    DOCUV NS 3. VTX 05/12/20 05
                                                            (page 3 of3 pages)                                                      M odified for V A
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                                               BK: 00738 PG:0749

                                                                                                          FILED
                                                                                               HOKE COUNTY
                                                                                               ONNIE DUDLEY
                                                                                             REGISTER OF DEEDS


                                                                                           FILED               Nov 14,2006
                                                                                           AT                   10:28:45 am
                                                                                           BOOK                         00738
                                                                                           START PAGE                    0749
                                                                                           END PAGE                      0768
                                                                                           INSTRUMENT #

                                          DEED OF TRUST
             '
After Re corains- Feturn
                  i      To:                                      Prepared   By: /
                                                                  DIANN        TpRS
CAROLI                .TGAGE   CO.
OF
FAYETT                6ATLANTIC Prepared By and Retur&~iI NAXMOR TGAGE                             CO .   OF
P 0 BO X       ¥549
                                The Real Estate Law F*IIETT EWLLE
                     NC 28314 POBOX 53515            6920 CL~F~DA LE                            ROAD
FAYETT ETNE ,
                              Fayetteville, NC 28305
ATTN :     1   CLOaSING                       15 004 -06 5 FAYETT                      ,    NC    28314
               DEPARTMENT            File #
                                      ISpace Above This Line For Recording Datal
                                                                                CAMACHO
                                                                                LOAN #:
                                                                                CASE #:

                                                                                MIN:


NOTICE:                          THIS          LOAN              IS         NOT                 ASSUMABLE
WITHOUT   THE   APPROVAL    OF   THE
DEPARTMENT OF VETERANS AFFAIRS OR ITS
AUTHORIZED AGENT.
DEFIN[T[ONS

Words used in multiple sections of this document are defined below and other words are defined in Sections 3,11,
13,18,20 and 21. Certain rules regarding the usage of words used in this document are also provided in Section 16.


( A ) " Security Instrument" means this document , which is dated          NOVEMBER        6,    2006          together with all
Riders to this document.
( B ) " Borrower" is        ALEXIS   I   CAMACHO AKA ALEXIS          IDILIO    CAMACHO AND
DAMARIS        CAMACHO,        HUSBAND AND WIFE


Borrower is the trustor under this Security Instrument.
(C ) " Lender " is CAROLINA MORTGAGE CO . OF FAYETTEVILLE

Lender is a      A NORTH CAROLINA ORGANIZATION                                 organized and existing under the laws of
NORTH CAROLINA
Lender ' s address is P.O.       BOX 25490 FAYETTEVILLE ,            NC 28314


( D) " Trustee" is DAVID W .         ALLRED

NORTH CAROLINA -- Single Family--Fannie Mae/Freddic Mac UNIFORM INSTRU,il EAT                                     Form 30341/01
Modified for VA
DOCUYNCI                                            (Page 1 of 14 pages)
DOCUYNCI.VTX   11/21/2005




                                                                                                                                   2,b
  t
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                                                    BK: 00738 PG: 0750

CE) " MERS " is Mortgage Electronic Registration Systems , Inc . MERS is a separate corporation that is acting
solely as a nominee for Lender and Lender' s successors and assigns . MERS is the beneficiary under this Security
Instru ment. MERS is organized and existing under the laws of Delaware, and has an address and telephone
number of P.O. Box 2026, Flint, MI 48501 -2026, tel. (888) 679-MERS.
( F) " Note" means the promissory note signed by Borrower and dated NOVEMBER 6 , 2006                           . The Note
states that Borrower owes Lender
TWO HUNDRED NINE THOUSAND SIX HUNDRED NINETY-SEVEN AND 00/100
Dollars (U.S. $ 209,697.00            ) plus interest. Borrower has promised to pay this debt in regular Periodic
Payments and to pay the debt in full not later than DECEMBER 1 , 2036
(G ) " Property" means the property that is described below under the heading "Transfer of Rights in the Property."
CH ) " Loan " means the debt evidenced by the Note, plus interest, any prepayment charges and late charges due
under the Note, and all sums due under this Security Instrument, plus interest.
([) " Riders" means all Riders to this Security Instrument that are executed by Borrower . The following Riders are
to be executed by Borrower [check box as applicable]:
D Adjustable Rate Rider               ~ Condominium Rider                           U Second Home Rider
D Balloon     Rider                   ®   Planned Unit Development    Rider         ~ Biweekly Payment Rider
~ 1 -4 Family Rider                   El Other(s) [specify]
® VA Rider
( J) " Applicable Law " means all controlling applicable federal , state and local statutes , regulations , ordinances and
administrative rules and orders (that have the effect of law) as well as all applicable final, non-appealable judicial
opinions.
CK ) " Community Association Dues, Fees , and Assessments" means all dues , fees , assessments and other charges
that are imposed on Borrower or the Property by a condominium association, homeowners association or similar
organization.
( L) " Electronic Funds Transfer" means any transfer of funds, other than a transaction originated by check , draft,
or similar paper instrument, which is initiated through an electronic terminal, telephonic instrument, computer, or
magnetic tape so as to order, instruct, or authorize a financial institution to debit or credit an account. Such term
includes, but is not limited to, point-of-sale transfers, automated teller machine transactions, transfers initiated by
telephone, wire transfers, and automated clearinghouse transfers.
( M ) " Escrow Items" means those items that are described in Section 3 .
( N ) " Miscellaneous Proceeds" means any compensation , settlement , award of damages , or proceeds paid by any
third party (other than insurance proceeds paid under the coverages described in Section 5) for: (i) damage to, Or
destruction of, the Property; (ii) condemnation or other taking of all or any part of the Property; (iii) conveyance in
lieu of condemnation; or (iv) misrepresentations of, or omissions as to, the value and/or condition of the Property.
CO) " Mortgage Insurance" means insurance protecting Lender against the nonpayment of, or default on , the Loan .
( P ) " Periodic Payment " means the regularly scheduled amount due for ( i ) principal and interest under the Note ,
plus (ii) any amounts under Section 3 of this Security Instrument.
(Q) " RESPA " means the Real Estate Settlement Procedures Act ( 12 U . S . C . § 2601 et seq .) and its implementing
regulation, Regulation X (24 C.F.R. Part 3500), as they might be amended from time to time, or any additional or
successor legislation or regulation that governs the same subject matter. As used in this Security instrument,
"RESPA" refers to all requirements and restrictions that are imposed in regard to a "federally related mortgage
 loan" even if the Loan does not qualify as a "federally related mortgage loan" under RESPA.
( R ) " Successor in Interest of Borrower" means any party that has taken title to the Property, whether or not that
 party has assumed Borrower's obligations under the Note and/or this Security Instrument.

TRANSFER OF RIGHTS IN THE PROPERTY

The beneficiary of this Security Instrument is MERS (solely as nominee for Lender and Lender's successors and
assigns) and the successors and assigns of MERS. This Security instrument secures to Lender: (i) the repayment of
the Loan, and all renewals, extensions and modifications of the Note; and (ii) the performance of Borrower's
covenants and agreements under this Security Instrument and the Note. For this purpose, Borrower irrevocably
grants and conveys to Trustee and Trustee's successors and assigns, in trust, with power of sale, the following


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described property located in the      COUNTY                                 (Type of Recording Jurisdiction) of
HOKE                                                 (Name of Recording Jurisdiction ):
                                                              Westfat
  Being all of Lot 360, in a subdivision known as The Oaks at ***WitaiR,~ection 2, according to a plat of
  the same being duly recorded in Plat Cabinet 3, Slide 3-38, Map 5 , Hoke County Registry, North
  Carolina.


  Parcel Identification No.
which currently has the address of      146 HARLON COURT
                                                                                                [Street]
RAEFORD                                                   , North Carolina    28376                  (" Property Address").
      [City]                                                                    [Zip Code]

         TO HAVE AND TO HOLD this property unto Trustee and Trustee's successors and assigns, forever,
together with all the improvements now or hereafter erected on the property, and all easements, appurtenances, and
fixtures now or hereafter a part of the property. All replacements and additions shall also be covered by this
Security Instrument. All of the foregoing is referred to in this Security Instrument as the "Property." Borrower
understands and agrees that MERS holds only legal title to the interests granted by Borrower in this Security
Instrument, but, if necessary to comply with law or custom, MERS (as nominee for Lender and Lender's successors
and assigns) has the right: to exercise any or all of those interests, including, but not limited to, the right to forecl ose
and sell the Property; and to take any action required of Lender including, but not limited to, releasing and
canceling this Security 1 nstrument.

          BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has the
right to grant and convey the Property and that the Property is unencumbered, except for encumbrances of record.
Borrower warrants and will defend generally the title to the Property against all claims and demands, subject to any
encumbrances of record.

        THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform
covenants with limited variations by jurisdiction to constitute a uniform security instrument covering real property.

          UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:
          1. Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late Charges. Borrower
shall pay when due the principal of, and interest on, the debt evidenced by the Note and any prepayment charges
and late charges due under the Note. Borrower shall also pay funds for Escrow [tems pursuant to Section 3.
Payments due under the Note and this Security Instrument shall be made in U.S. currenc y. However, if any check or
other instrument received by Lender as payment under the Note or this Security [nstrument is returned to Lender
unpaid, Lender may require that any or al] subsequent payments due under the Note and this Security Instrument be
made in one or more of the following forms, as selected by Lender: (a) cash; (b) money order; (c) certified check,
bank check. treasurer's check or cashier's check, provided any such check is drawn upon an institution whose
deposits are insured by a federal agency, instrumentality, or entity; or (d) Electronic Funds Transfer.
          Payments are deemed received by Lender when received at the location designated in the Note or at such
other location as may be designated by Lender in accordance with the notice provisions in Section 15. Lender may
return any payment or partial payment i f the payment or partial payments are insufficient to bring the Loan current.
If Borrower has breached any covenant or agreement in this Security Instrument and Lender has accelerated the
obligations of Borrower hereunder pursuant to Section 22 then Lender may accept any payment or partial payment
insufficient to bring the loan current, without waiver of any rights hereunder or prejudice to its rights to refuse such
payment or partial payments in the future, but Lender is not obligated to apply such payments at the time such
payments are accepted. I f each Periodic Payment is applied as of its scheduled due date, then Lender need not pay
interest on unapplied funds. Lender may hold such unapplied funds until Borrower makes payment to bring the
Loan current. I f Borrower does not do so within a reasonable period of time, Lender shall either apply such funds or


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return them to Borrower. If not applied earlier, such funds will be applied to the outstanding principal balance un der
the Note immediately prior to foreclosure. No offset or claim which Borrower might have now or in the future
against Lender shall relieve Borrower from making payments due under the Note and this Security Instrument or
performing the covenants and agreements secured by this Security Instrument.
           2 . Application of Payments or Proceeds. Except as otherwise described in this Section 2 , all payments
accepted and applied by Lender shall be applied in the following order of priority: (a) interest due under the Note;
(b) principal due under the Note; (c) amounts due under Section 3. Such payments shall be applied to each Periodic
Payment in the order in which it became due. Any remaining amounts shall be applied first to late charges, second
to any other amounts due under this Security instrument, and then to reduce the principal balance of the Note.
           I f Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a sufficient
amount to pay any late charge due, the payment may be applied to the delinquent payment and the late charge. If
more than one Periodic Payment is outstanding, Lender may apply any payment received from Borrower to the
repayment of the Periodic Payments if, and to the extent that, each payment can be paid in full. To the extent that
any excess exists after the payment is applied to the full payment of one or more Periodic Payments, such excess
may be applied to any late charges due. Voluntary prepayments shall be applied first to any prepayment charges and
then as described in the Note.
           Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under the
Note shall not extend or postpone the due date, or change the amount, of the Periodic Payments.
           3 . Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due under the
Note, until the Note is paid in full, a sum (the "Funds") to provide for payment of amounts due for: (a) taxes and
assessments and other items which can attain priority over this Security 1nstrument as a lien or encumbrance on the
 Property; (b) leasehold payments or ground rents on the Property, if any; (c) premiums for any and al] insurance
required by Lender under Section 5; and (d) Mortgage Insurance premiums, if any, or any sums payable by
 Borrower to Lender in lieu of the payment of Mortgage Insurance premiums in accordance with the provisions of
Section 10. These items are called "Escrow Items." At origination or at any time during the term of the Loan,
 Lender may require that Community Association Dues, Fees, and Assessments, if any, be escrowed by Borrower,
and such dues. fees and assessments shall be an Escrow Item. Borrower shall promptly furnish to Lender all notices
of amounts to be paid under this Section. Borrower shall pay Lender the Funds for Escrow Items unless Lender
waives Borrower's obligation to pay the Funds for any or all Escrow Items. Lender may waive Borrower's
obligation to pay to Lender Funds for any or all Escrow Items at any time. Any such waiver may only be in writing.
 In the event of such waiver, Borrower shall pay directly, when and where payable, the amounts due for any Escrow
 Items for which payment of Funds has been waived by Lender and, if Lender requires, shall furnish to Lender
 receipts evidencing such payment within such time period as Lender may require. Borrower's obligation to make
such payments and to provide receipts shall for all purposes be deemed to be a covenant and agreement contained in
 this Security Instrument, as the phrase "covenant and agreement" is used in Section 9. lf Borrower is obligated to
 pay Escrow Items directly, pursuant to a waiver, and Borrower fails to pay the amount due for an Escrow Item,
 Lender may exercise its rights under Section 9 and pay such amount and Borrower shall then be obligated under
 Section 9 to repay to Lender any such amount. Lender may revoke the waiver as to any or all Escrow Items at any
 time by a notice given in accordance with Section 15 and, upon such revocation, Borrower shall pay to Lender all
 Funds, and in such amounts, that are then required under this Section 3.
            Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply the
 Funds at the time specified under RESPA, and (b) not to exceed the maximum amount a lender can require under
 RESPA. Lender shall estimate the amount of Funds due on the basis of current data and reasonable estimates of
 expenditures of future Escrow Items or otherwise in accordance with Applicable Law.
            The Funds shall be held in an institution whose deposits are insured by a federal agency, instrumentality,
 or entity (including Lender, if Lender is an institution whose deposits are so insured) or in any Federal Home Loan
  Bank. Lender shall apply the Funds to pay the Escrow Items no later than the time specified under RESPA. Lender
 shall not charge Borrower for holding and applying the Funds, annually analyzing the escrow account, or verifying
 the Escrow Items, unless Lender pays Borrower interest on the Funds and Applicable Law permits Lender to make
 such a charge. Unless an agreement is made in writing or Applicable Law requires interest to be paid on the Funds,
  Lender shall not be required to pay Borrower any interest or earnings on the Funds. Borrower and Lender can agree
  in writing. however, that interest shall be paid on the Funds. Lender shall give to Borrower, without charge, an
  annual accounting of the Funds as required by RESPA.

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          I f there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to Borrower
for the excess funds in accordance with RESPA. If there is a shortage of Funds held in escrow, as defined under
RESPA. Lender shall notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount
necessary to make up the shortage in accordance with RES PA, but in no more than 12 monthly payments. I f there is
a deficiency of Funds held in escrow, as defined under RESPA, Lender shall notify Borrower as required by
RESPA, and Borrower shall pay to Lender the amount necessary to make up the deficiency in accordance with
RESPA, but in no more than 12 monthly payments.
          Upon payment in full of all sums secured by this Security Instrument, Lender shall promptly refund to
Borrower any Funds held by Lender.
          4. Charges ; Liens. Borrower shall pay all taxes, assessments, charges , fines , and impositions attributable
to the Property which can attain priority over this Security Instrument, leasehold payments or ground rents on the
Property, if any, and Community Association Dues, Fees, and Assessments, i f any. To the extent that these items
are Escrow Items, Borrower shall pay them in the manner provided in Section 3.
          Borrower shall promptly discharge any lien which has priority over this Security 1nstrument unless
Borrower: (a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable to
Lender, but only so long as Borrower is performing such agreement; (b) contests the lien in good faith by, or
defends against enforcement of the lien in, legal proceedings which in Lender's opinion operate to prevent the
enforcement of the lien while those proceedings are pending, but only until such proceedings are concluded; or (c)
secures from the holder of the lien an agreement satisfactory to Lender subordinating the lien to this Security
Instrument. 1 f Lender determines that any part of the Property is subject to a lien which can attain priority over this
Security Instrument, Lender may give Borrower a notice identifying the lien. Within 10 days of the date on which
that notice is given, Borrower shall satisfy the lien or take one or more of the actions set forth above in this Section
4.
          Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or reporting
service used by Lender in connection with this Loan.
          5. Property Insurance. Borrower shall keep the improvements now existing or hereafter erected on the
Property insured against loss by fire, hazards included within the term "extended coverage," and any other hazards
including, but not limited to, earthquakes and floods, for which Lender requires insurance. This insurance shall be
maintained in the amounts (including deductible levels) and for the periods that Lender requires. What Lender
requires pursuant to the preceding sentences can change during the term of the Loan. The insurance carrier
providing the insurance shall be chosen by Borrower subject to Lender's right to disapprove Borrower's choice,
which right shall not be exercised unreasonably. Lender may require Borrower to pay, in connection with this Loan,
either: (a) a one-time charge for flood zone determination, certification and tracking services; or (b) a one-time
charge for flood zone determination and certification services and subsequent charges each time remappings or
siinilar changes occur which reasonably might affect such determination or certification. Borrower shall also be
responsible for the payment of any fees imposed by the Federal Emergency Management Agency in connection
with the review of any flood zone determination resulting from an objection by Borrower.
          If Borrower fails to maintain any of the coverages described above, Lender may obtain insurance coverage,
at Lender's option and Borrower's expense. Lender is under no obligation to purchase any particular type or amount
of coverage. Therefore, such coverage shall cover Lender, but might or might not protect Borrower, Borrower's
equity in the Property, or the contents of the Property, against any risk, hazard or liability and might provide greater
or lesser coverage than was previously in effect. Borrower acknowledges that the cost o f the insurance coverage so
obtained might significantly exceed the cost of insurance that Borrower could have obtained. Any amounts
disbursed by Lender under this Section 5 shall become additional debt of Borrower secured by this Security
Instrument. These amounts shall bear interest at the Note rate from the date of disbursement and shall be payable,
with such interest, upon notice from Lender to Borrower requesting payment.
          All insurance policies required by Lender and renewals of such policies shall be subject to Lender's right
to disapprove such policies, shall include a standard mortgage clause, and shall name Lender as mortgagee and/or as
an additional loss payee. Lender shall have the right to hold the policies and renewal certificates. If Lender requires,
Borrower shall promptly give to Lender all receipts of paid premiums and renewal notices. If Borrower obtains any
form of insurance coverage, not otherwise required by Lender, for damage to, or destruction of, the Property, such
policy shall include a standard mortgage clause and shall name Lender as mortgagee and/or as an additional loss
payee.

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          In the event of loss, Borrower shall give prompt notice to the insurance carr                 r. Lender may
make proof of loss i f not made promptly by Borrower. Unless Lender and Borrower otherwise agree in writing, any
insurance proceeds, whether or not the underlying insurance was required by Lender, shall be applied to restoration
or repair of the Property, if the restoration or repair is economically feasible and Lender's security is not lessened.
During such repair and restoration period, Lender shall have the right to hold such insurance proceeds until Lender
has had an opportunity to inspect such Property to ensure the work has been completed to Lender's satisfaction,
provided that such inspection shall be undertaken promptly. Lender may disburse proceeds for the repairs and
restoration in a single payment or in a series ofprogress payments as the work is completed. Unless an agreement is
made in writing or Applicable Law requires interest to be paid on such insurance proceeds, Lender shall not be
required to pay Borrower any interest or earnings on such proceeds. Fees for public adjusters, or other third parties,
retained by Borrower shall not be paid out of the insurance proceeds and shall be the sole obligation of Borrower. I f
the restoration or repair is not economically feasible or Lender's security would be lessened, the insurance proceeds
shall be applied to the sums secured by this Security 1nstrument, whether or not then due, with the excess, if any,
paid to Borrower. Such insurance proceeds shall be applied in the order provided for in Section 2.
          If Borrower abandons the Property, Lender may file, negotiate and settle any available insurance claim and
related matters. [f Borrower does not respond within 30 days to a notice from Lender that the insurance carrier has
offered to settle a claim, then Lender may negotiate and settle the claim. The 30-day period will begin when the
notice is given. In either event, or if Lender acquires the Property under Section 22 or otherwise, Borrower hereby
assigns to Lender (a) Borrower's rights to any insurance proceeds in an amount not to exceed the amounts unpaid
under the Note or this Security Instrument, and (b) any other of Borrower's rights (other than the right to any refund
of unearned premiums paid by Borrower) under all insurance policies covering the Property, insofar as such rights
are applicable to the coverage of the Property. Lender may use the insurance proceeds either to repair or restore the
Property or to pay amounts unpaid under the Note or this Security Instrument, whether or not then due.
          6. Occupancy. Borrower shall occupy, establish, and USe the Property as Borrower ' s principal residence
within 60 days after the execution of this Security Instrument and shall continue to occupy the Property as
Borrower's principal residence for at least one year after the date of occupancy, unless Lender otherwise agrees in
writing, which consent shall not be unreasonably withheld, or unless extenuating circumstances exist which are
beyond Borrower's control.
          7. Preservation , Maintenance and Protection of the Property ; Inspections. Borrower shall not destroy,
damage or impair the Property, allow the Property to deteriorate or commit waste on the Property. Whether or not
Borrower is residing in the Property, Borrower shall maintain the Property in order to prevent the Property from
deteriorating or decreasing in value due to its condition. Unless it is determined pursuant to Section 5 that repair or
restoration is not economically feasible, Borrower shall promptly repair the Property if damaged to avoid further
deterioration or damage. If insurance or condemnation proceeds are paid in connection with damage to, or the
taking of, the Property, Borrower shall be responsible for repairing or restoring the Property only if Lender has
released proceeds for such purposes. Lender may disburse proceeds for the repairs and restoration in a single
payment or in a series of progress payments as the work is completed. If the insurance or condemnation proceeds
are not sufficient to repair or restore the Property, Borrower is not relieved of Borrower's obligation for the
completion of such repair or restoration. Lender or its agent may make reasonable entries upon and inspections of
the Property. 1 f it has reasonable cause, Lender may inspect the interior of the improvements on the Property.
          Lender shall give Borrower notice at the time of or prior to such an interior inspection specifying such
reasonable cause.
          8. Borrower' s Loan Application . Borrower shall be in default if, during the Loan application process ,
 Borrower or any persons or entities acting at the direction of Borrower or with Borrower's knowledge or consent
gave materially false, misleading, or inaccurate information or statements to Lender (or failed to provide Lender
with material information) in connection with the Loan. Material representations include, but are not limited to,
representations concerning Borrower's occupancy of the Property as Borrower's principal residence.
          9. Protection of Lender' s Interest in the Property and Rights Under this Security Instrument. if (a)
 Borrower fails to perform the covenants and agreements contained in this Security instrument, (b) there is a legal
proceeding that might significantly affect Lender's interest in the Property and/or rights under this Security
 Instrument (such as a proceeding in bankruptcy, probate, for condemnation or forfeiture, for enforcement of a lien
 which may attain priority over this Security Instrument or to enforce laws or regulations),or (c) Borrower has
 abandoned the Property, then Lender may do and pay for whatever is reasonable or appropriate to protect Lender' s

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interest in the Property and rights under this Security Instrument, including protecting and/or assessing the value of
the Property, and securing and/or repairing the Property. Lender's actions can include, but are not limited to: (a)
paying any sums secured by a lien which has priority over this Security Instrument; (b) appearing in court; and (c)
paying reasonable attorneys' fees to protect its interest in the Property and/or rights under this Security Instrument,
including its secured position in a bankruptcy proceeding. Securing the Property includes, but is not limited to,
entering the Property to inake repairs, change locks, replace or board up doors and windows, drain water from
pipes, eliminate building or other code violations or dangerous conditions, and have utilities turned on or off.
Although Lender may take action under this Section 9, Lender does not have to do so and is not under any duty or
obligation to do so. It is agreed that Lender incurs no liability for not taking any or all actions authorized under this
Section 9.
          Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower secured
by this Security Instrument. These amounts shall bear interest at the Note rate from the date of disbursement and
shall be payable, with such interest, upon notice from Lender to Borrower requesting payment.
          I f this Security Instrument is on a leasehold, Borrower shall comply with all the provisions of the lease.
Borrower shall not surrender the leasehold estate and interests herein conveyed or terminate or cancel the ground
lease. Borrower shall not, without the express written consent of Lender, alter or amend the ground lease. If
Borrower acquires fee title to the Property, the leasehold and the fee title shall not merge unless Lender agrees to
the merger in writing.
           10. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan ,
Borrower shall pay the premiums required to maintain the Mortgage Insurance in effect. If, for any reason, the
Mortgage Insurance coverage required by Lender ceases to be available from the mortgage insurer that previously
provided such insurance and Borrower was required to make separately designated payments toward the premiums
for Mortgage Insurance, Borrower shall pay the premiums required to obtain coverage substantially equivalent to
the Mortgage Insurance previously in effect, at a cost substantially equivalent to the cost to Borrower of the
Mortgage Insurance previously in effect, from an alternate mortgage insurer selected by Lender.If substantially
equivalent Mortgage Insurance coverage is not available, Borrower shall continue to pay to Lender the amount of
the separately designated payments that were due when the insurance coverage ceased to be in effect. Lender will
accept, use and retain these payments as a non-refundable loss reserve, if permitted under Applicable Law, in lieu of
Mortgage Insurance. Such loss reserve shall be non-refundable, notwithstanding the fact that the Loan is ultimately
paid in full, and Lender shall not be required to pay Borrower any interest or earnings on such loss reserve, if
permitted under Applicable Law. Lender can no longer require loss reserve payments if Mortgage Insurance
coverage (in the amount and for the period that Lender requires) provided by an insurer selected by Lender again
becomes available, is obtained, and Lender requires separately designated payments toward the premiums for
Mortgage Insurance. if Lender required Mortgage [nsurance as a condition of making the Loan and Borrower was
required to make separately designated payments toward the premiums for Mortgage Insurance, Borrower shall pay
the premiums required to maintain Mortgage Insurance in effect, if permitted under Applicable Law, or to provide a
non-refundable loss reserve, until Lender's requirement for Mortgage Insurance ends in accordance with any
written agreement between Borrower and Lender providing for such termination or until termination is required by
Applicable Law. Nothing in this Section 10 affects Borrower's obligation to pay interest at the rate provided in the
Note.
           Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it may
incur if Borrower does not repay the Loan as agreed. Borrower is not a party to the Mortgage Insurance.
           Mortgage insurers evaluate their total risk on all such insurance in force from time to time, and may enter
into agreements with other parties that share or modify their risk, or reduce losses. These agreements are on terms
and conditions that are satisfactory to the mortgage insurer and the other party (or parties) to these agreements.
These agreements may require the mortgage insurer to make payments using any source of funds that the mortgage
 insurer may have available (which may include funds obtained from Mortgage Insurance premiums).
           As a result of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurer, any
other entity, or any affiliate of any of the foregoing, may receive (directly or indirectly) amounts that derive from
(or might be characterized as) a portion of Borrower's payments for Mortgage Insurance, in exchange for sharing or
 modifying the mortgage insurer's risk, or reducing losses. If such agreement provides that an affiliate of Lender
 takes a share of the insurer's risk in exchange for a share of the premiums paid to the insurer, the arrangement is
 often termed 'captive reinsurance." Further:


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          (a) Any such agreements will not affect the amounts that Borrower has agreed to pay for Mortgage
Insurance, or any other terms of the Loan. Such agreements will not increase the amount Borrower will owe
for Mortgage Insurance, and they will not entitle Borrower to any refund.
          (b) Any such agreements will not affect the rights Borrower has - if any - with respect to the
Mortgage Insurance under the Homeowners Protection Act of 1998 or any other law. These rights may
include the right to receive certain disclosures, to request and obtain cancellation of the Mortgage Insurance,
to have the Mortgage Insurance terminated automatically, and/or to receive a refund of any Mortgage
Insurance premiums that were unearned at the time of such cancellation or termination.
          11 . Assignment of Miscellaneous Proceeds ; Forfeiture. All Miscellaneous Proceeds are hereby assigned
to and shall be paid to Lender.
          If the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of the
Property, if the restoration or repair is economically feasible and Lender's security is not lessened. During such
repair and restoration period, Lender shall have the right to hold such Miscellaneous Proceeds until Lender has had
an opportunity to inspect such Property to ensure the work has been completed to Lender's satisfaction. provided
that such inspection shall be undertaken promptly. Lender may pay for the repairs and restoration in a single
disbursement or in a series of progress payments as the work is completed. Unless an agreement is made in writing
or Applicable Law requires interest to be paid on such Miscellaneous Proceeds, Lender shall not be required to pay
Borrower any interest or earnings on such Miscellaneous Proceeds. I f the restoration or repair is not economically
feasible or Lender's security would be lessened, the Miscel laneous Proceeds shall be applied to the sums secured by
this Security Instrument, whether or not then due, with the excess, if any, paid to Borrower. Such Miscellaneous
Proceeds shall be applied in the order provided for in Section 2.
          In the event of a total taking, destruction, or loss in value of the Property, the Miscellaneous Proceeds shall
be applied to the sums secured by this Security Instrument, whether or not then due, with the excess, if any, paid to
Borrower.
          In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value
of the Property immediately before the partial taking, destruction, or loss in value is equal to or greater than the
amount of the sums secured by this Security Instrument im mediately before the partial taking, destruction, or loss in
value, unless Borrower and Lender otherwise agree in writing, the sums secured by this Security [nstrume nt shall be
reduced by the amount of the Miscellaneous Proceeds multiplied by the following fraction: (a) the total amount of
the sums secured immediately before the partial taking, destruction, or loss in value divided by (b) the fair market
value of the Property immediately before the partial taking, destruction, or loss in value. Any balance shall be paid
to Borrower.
          [n the event of a partial taking, destruction, or loss in value of the Property in which the fair market value
of the Property immediately before the partial taking, destruction, or loss in value is less than the amount of the
sums secured immediately before the partial taking, destruction, or loss in value, unless Borrower and Lender
otherwise agree in writing, the Miscellaneous Proceeds shall be applied to the sums secured by this Security
Instrument whether or not the sums are then due.
          If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the Opposing
Party (as defined in the next sentence) offers to make an award to settle a claim for damages, Borrower fails to
respond to Lender within 30 days after the date the notice is given, Lender is authorized to collect and apply the
Miscellaneous Proceeds either to restoration or repair of the Property or to the sums secured by this Security
Instrument, whether or not then due. "Opposing Party" means the third party that owes Borrower Miscellaneous
Proceeds or the party against whom Borrower has a right of action in regard to Miscellaneous Proceeds. Borrower
shall be in default if any action or proceeding, whether civil or criminal, is begun that, in Lender's judgment, could
result in forfeiture of the Property or other material impairment o f Lender's interest in the Property or rights under
this Security Instrument. Borrower can cure such a default and, if acceleration has occurred, reinstate as provided in
Section 19, by causing the action or proceeding to be dismissed with a ruling that, in Lender's judgment, precludes
forfeiture of the Property or other material impairment of Lender's interest in the Property or rights under this
Security instrument. The proceeds of any award or claim for damages that are attributable to the impairment of
 Lender's interest in the Property are hereby assigned and shall be paid to Lender.
          A 11 M i sce l laneou s Proceeds that are not applied to restoration or repair of the Property shall be applied in
the order provided for in Section 2.


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          12 . Borrower Not Released ; Forbearance By Lender Not a Waiver. Extension of the time for payment
or modification of amortization of the sums secured by this Security Instrument granted by Lender to Borrower or
any Successor in Interest of Borrower shall not operate to release the liability of Borrower or any Successors in
Interest of Borrower. Lender shall not be required to commence proceedings against any Successor in Interest of
Borrower or to refuse to extend time for payment or otherwise modify amortization of the sums secured by this
Security Instrument by reason of any demand made by the original Borrower or any Successors in Interest of
Borrower. Any forbearance by Lender in exercising any right or remedy including, without limitation, Lender's
acceptance of payments from third persons, entities or Successors in Interest of Borrower or in amounts less than
the amount then due, shall not be a waiver of or preclude the exercise of any right or remedy.
           13. Joint and Several Liability; Co-signers; Successors and Assigns Bound. Borrower covenants and
agrees that Borrower's obligations and liability shall be joint and several. However, any Borrower who co -signs this
Security Instrument but does not execute the Note (a "co-signer"): (a) is co-signing this Security Instrument only to
mortgage, grant and convey the co-signer's interest in the Property under the terms of this Security Instrument; (b)
is not personally obligated to pay the sums secured by this Security Instrument; and (c) agrees that Lender and any
other Borrower can agree to extend, modify, forbear or make any accommodations with regard to the terms of this
Security Instrument or the Note without the co-signer's consent.
          Subject to the provisions of Section 18, any Successor in Interest of Borrower who assumes Borrower's
obligations under this Security Instrument in writing, and is approved by Lender, shall obtain all of Borrower's
rights and benefits under this Security Instrument. Borrower shall not be released from Borrower's obligations and
liability under this Security Instrument unless Lender agrees to such release in writing. The covenants and
agreements of this Security 1nstrument shall bind (except as provided in Section 20) and benefit the successors and
assigns of Lender.
          14 . Loan Charges. Lender may charge Borrower fees for services performed in connection with
Borrower' s default. for the purpose of protecting Lender ' s interest in the Property and rights under this Security
Instrument, including, but not limited to, attorneys' fees, property inspection and valuation fees. In regard to any
other fees, the absence ofexpress authority in this Security Instrument to charge a specific fee to Borrower shall not
be construed as a prohibition on the charging of such fee. Lender may not charge fees that are expressly prohibited
by this Security Instrument or by Applicable Law.
          If the Loan is subject to a law which sets maximum loan charges, and that law is finally interpreted so that
the interest or other loan charges collected or to be collected in connection with the Loan exceed the permitted
limits, then: (a) any such loan charge shall be reduced by the amount necessary to reduce the charge to the permitted
limit; and (b) any sums already collected from Borrower which exceeded permitted limits will be refunded to
Borrower. Lender may choose to make this refund by reducing the principal owed under the Note or by making a
direct payment to Borrower. If a refund reduces principal, the reduction will be treated as a partial prepayment
without any prepayment charge (whether or not a prepayment charge is provided for under the Note). Borrower's
acceptance of any such refund made by direct payment to Borrower will constitute a waiver of any right of action
Borrower might have arising out of such overcharge.
           15. Notices . All notices given by Borrower or Lender in connection with this Security Instrument must be
in writing. Any notice to Borrower in connection with this Security instrument shall be deemed to have been given
to Borrower when mailed by first class mail or when actually delivered to Borrower's notice address if sent by other
means. Notice to any one Borrower sha] 1 constitute notice to all Borrowers unless Applicable Law expressly
requires otherwise. The notice address shall be the Property Address unless Borrower has designated a substitute
notice address by notice to Lender. Borrower shall promptly notify Lender of Borrower's change of address. lf
 Lender specifies a procedure for reporting Borrower's change of address, then Borrower shall only report a change
of address through that specified procedure. There may be only one designated notice address under this Security
 Instrument at any one time. Any notice to Lender shall be given by delivering it or by mailing it by first class mail
to Lender's address stated herein unless Lender has designated another address by notice to Borrower. Any notice
 in connection with this Security Instrument shall not be deemed to have been given to Lender until actually received
by Lender. If any notice required by this Security [nstrument is also required under Applicable Law, the Applicable
 Law requirement will satisfy the corresponding requirement under this Security Instrument.
           16. Governing Law ; Severability ; Rules of Construction . This Security Instrument shall be governed by
 federal law and the law of the jurisdiction in which the Property is located. All rights and obligations contained in
 this Security Instrument are subject to any requirements and limitations of Applicable Law. Applicable Law might

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explicitly or implicitly allow the parties to agree by contract or it might be silent, but such silence shall not be
construed as a prohibition against agreement by contract. ]n the event that any provision or clause of this Security
Instrument or the Note conflicts with Applicable Law, such conflict shall not affect other provisions of this Security
Instrument or the note which can be given effect without the conflicting provision.
          As used in this Security Instrument: (a) words of the masculine gender shall mean and include
corresponding neuter words or words of the feminine gender; (b) words in the singular shall mean and include the
plural and vice versa; and (c) the word "may" gives sole discretion without any obligation to take any action.
          17 . Borrower ' s Copy . Borrower shall be given one copy ofthe Note and of this Security Instrument .
          18. Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 18 , " Interest
in the Property" means any legal or beneficial interest in the Property, including, but not limited to, those beneficial
interests transferred in a bond for deed, contract for deed, installment sales contract or escrow agreement, the intent
of which is the transfer oftitle by Borrower at a future date to a purchaser.
          1 fall or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is not a
natural  person   and a beneficial interest in Borrower is sold or transferred) without Lender's prior written consent,
Lender may require immediate payment in full of all sums secured by this Security Instrument. However, this
option shall not be exercised by Lender ifsuch exercise is prohibited by Applicable Law.
          I f Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall provide
a period of not less than 30 days from the date the notice is given in accordance with Section 15 within which
Borrower must pay all sums secured by this Security Instrument. [f Borrower fails to pay these sums prior to the
expiration of this period, Lender may invoke any remedies permitted by this Security Instrument without further
notice or demand on Borrower.
           19 . Borrower ' s Right to Reinstate After Acceleration . If Borrower meets certain conditions , Borrower
shall have the right to have enforcement of this Security Instrument discontinued at any time prior to the earliest of:
(a) five days before sale of the Property pursuant to any power of sale contained in this Security Instrument; (b)
such other period as Applicable Law might specify for the termination of Borrower's right to reinstate; or (c) entry
of a judgment enforcing this Security [nstrument. Those conditions are that Borrower: (a) pays Lender all sums
which then would be due under this Security Instrument and the Note as if no acceleration had occurred; (b) cures
any default of any other covenants or agreements; (c) pays all expenses incurred in enforcing this Security
Instrument. including, but not limited to, reasonable attorneys' fees, property inspection and valuation fees, and
other fees incurred for the purpose of protecting Lender's interest in the Property and rights under this Security
Instrument; and (d) takes such action as Lender may reasonably require to assure that Lender's interest in the
Property and rights under this Security Instrument, and Borrower's obligation to pay the sums secured by this
Security Instrument, shall continue unchanged. Lender may require that Borrower pay such reinstatement sums and
expenses in one or more of the following forms, as selected by Lender: (a) cash; (b) money order; (c) certified
check, bank check, treasurer's check or cashier's check, provided any such check is drawn upon an institution
whose deposits are insured by a federal agency, instrumentality or entity; or (d) Electronic Funds Transfer. Upon
reinstatement by Borrower, this Security Instrument and obligations secured hereby shall remain fully effective as if
no acceleration had occurred. However, this right to reinstate shall not apply in the case of acceleration under
Section ] 8.
          20. Sale of Note ; Change of Loan Servicer ; Notice of Grievance. The Note or a partial interest in the
Note (together with this Security Instrument) can be sold one or more times without prior notice to Borrower. A
sale might result in a change in the entity (known as the "Loan Servicer") that collects Periodic Payments due under
the Note and this Security Instrument and performs other mortgage loan servicing obligations under the Note, this
Security Instrument. and Applicable Law. There also might be one or more changes of the Loan Servicer unrelated
to a sale of the Note. If there is a change of the Loan Servicer, Borrower will be given written notice of the change
which will state the name and address of the new Loan Servicer, the address to which payments should be made and
any other information RESPA requires in connection with a notice of transfer of servicing. If the Note is sold and
thereafter the Loan is serviced by a Loan Servicer other than the purchaser of the Note, the mortgage loan servicing
obligations to Borrower will remain with the Loan Servicer or be transferred to a successor Loan Servicer and are
not assumed by the Note purchaser unless otherwise provided by the Note purchaser.
          Neither Borrower nor Lender may commence, join, or be joined to any judicial action (as either an
 individual litigant or the member of a class) that arises from the other party's actions pursuant to this Security
 Instrument or that alleges that the other party has breached any provision of, or any duty owed by reason of, this

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Security Instrument, until such Borrower or Lender has notified the other party (with such notice given in
compliance with the requirements of Section 15) of such alleged breach and afforded the other party hereto a
reasonable period after the giving of such notice to take corrective action. I f Applicable Law provides a time period
which must elapse before certain action can be taken, that time period will be deemed to be reasonable for purposes
o f this paragraph. The notice of acceleration and opportunity to cure given to Borrower pursuant to Section 22 and
the notice of acceleration given to Borrower pursuant to Section 18 shall be deemed to satisfy the notice and
opportunity to take corrective action provisions ofthis Section 20.
           21 . Hazardous Substances . As used in this Section 21 : (a)" Hazardous Substances" are those substances
defined as toxic or hazardous substances, pollutants, or wastes by Environmental Law and the following substances:
gasoline, kerosene, other flammable or toxic petroleum products, toxic pesticides and herbicides, volatile solvents,
materials containing asbestos or formaldehyde, and radioactive materials; (b) "Environmental Law" means federal
laws and laws of the jurisdiction where the Property is located that relate to health, safety or environmental
protection; (c) "Environmental Cleanup" includes any response action, remedial action, or removal action, as
defined in Environmental Law; and (d) an "Environmental Condition" means a condition that can cause, contribute
to, or otherwise trigger an Environmental Cleanup,
           Borrower shall not cause or permit the presence, use, disposal, storage, or release of any Hazardous
Substances, or threaten to release any Hazardous Substances, on or in the Property. Borrower shall not do, nor allow
anyone else to do, anything affecting the Property (a) that is in violation of any Environmental Law, (b) which
creates an Environmental Condition, or (c) which, due to the presence, use, or release of a Hazardous Substance,
creates a condition that adversely affects the value of the Property. The preceding two sentences shall not apply to
the presence, use, or storage on the Property of small quantities of Hazardous Substances that are generally
recognized to be appropriate to normal residential uses and to maintenance of the Property (including, but not
limited to, hazardous substances in consumer products).
           Borrower shall promptly give Lender written notice of (a) any investigation, claim, demand, lawsuit or
other action by any governmental or regulatory agency or private party involving the Property and any Hazardous
Substance or Environmental Law of which Borrower has actual knowledge, (b) any Environmental Condition,
including but not limited to, any spilling, leaking, discharge, release or threat of release of any Hazardous
Substance, and (c) any condition caused by the presence, use or release o f a Hazardous Substance which adversely
affects the value of the Property. 1 f Borrower learns, or is notified by any governmental or regulatory authority, or
any private party, that any removal or other remediation of any Hazardous Substance affecting the Property is
necessary, Borrower shall promptly take all necessary remedial actions in accordance with Environmental Law.
Nothing herein shall create any obligation on Lender for an Environmental Cleanup.

         NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:
         22. Acceleration; Remedies. Lender shall give notice to Borrower prior to acceleration following
Borrower's breach of any covenant or agreement in this Security Instrument (but not prior to acceleration
under Section 18 unless Applicable Law provides otherwise). The notice shall specify: (a) the default; (b) the
action required to cure the default; (c) a date, not less than 30 days from the date the notice is given to
Borrower, by which the default must be cured; and (d) that failure to cure the default on or before the date
specified in the notice may result in acceleration of the sums secured by this Security Instrument and sale of
the Property. The notice shall further inform Borrower of the right to reinstate after acceleration and the
right to assert in the foreclosure proceeding the non-existence of a default or any other defense of Borrower
to acceleration and sale. If the default is not cured on or before the date specified in the notice, Lender at its
option may require immediate payment in full of all sums secured by this Security Instrument without
further demand and may invoke the power of sale and any other remedies permitted by Applicable Law.
Lender shall be entitled to collect all expenses incurred in pursuing the remedies provided in this Section 22,
including, but not limited to, reasonable attorneys' fees and costs of title evidence.
         If Lender invokes the power of sale, and if it is determined in a hearing held in accordance with
Applicable Law that Trustee can proceed to sale, Trustee shall take such action regarding notice of sale and
shall give such notices to Borrower and to other persons as Applicable Law may require. After the time
required by Applicable Law and after publication of the notice of sale, Trustee, without demand on
 Borrower, shall sell the Property at public auction to the highest bidder at the time and place and under the


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terms designated in the notice of sale in one or more parcels and in any order Trustee determines. Lender or
its designee may purchase the Property at any sale.
          Trustee shall deliver to the purchaser Trustee'§ deed conveying the Property without any covenant
or warranty, expressed or implied. The recitals in the Trustee's deed shall be prima facie evidence of the
truth of the statements made therein. Trustee shall apply the proceeds of the sale in the following order: (a)
to all expenses of the sale, including, but not limited to, Trustee's fees of 5.000       % of the gross sale
price; (b) to all sums secured by this Security Instrument; and (c) any excess to the person or persons legally
entitled to it. The interest rate set forth in the Note shall apply whether before or after any judgment on the
indebtedness evidenced by the Note.
          23 . Release. Upon payment of all sums secured by this Security Instrument, Lender or Trustee shall cancel
this Security Instrument. If Trustee is requested to release this Security [nstrument, all notes evidencing debt
secured by this Security Instrument shall be surrendered to Trustee. Borrower shall pay any recordation costs.
Lender may charge Borrower a fee for releasing this Security Instrument, but only i f the fee is paid to a third party
for services rendered and the charging ofthe fee is permitted under Applicable Law.
          24 . Substitute Trustee. Lender may from time to time remove Trustee and appoint a successor trustee to
any Trustee appointed hereunder by an instrument recorded in the county in which this Security Instrument is
recorded. Without conveyance of the Property, the successor trustee shall succeed to all the title, power and duties
conferred upon Trustee herein and by Applicable Law.
          25. Attorneys ' Fees. Attorneys ' fees must be reasonable .




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         BY S[GNING UNDER SEAL BELOW, Borrower accepts and agrees to the terms and covenants
contained in this Security Instrument and in any Rider executed by Borrower and recorded with it.




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                                 ISpace Below This Line For Acknowledgment]




  STATE OF North Carolina
  COUNTY OF Cumberland


  I, b.501 6- 605; OR¢ rL                        ,  a Notary Public for said County and State, do hereby
 certify that Damaris Camacho, inddidually and as attorney in fact for Alexis I Camacho AKA Alexis
 Idilio Camacho, personally appeared before me this day, and being by me duly sworn, says that she
 executed the foregoing and annexed instrument individually and for and in behalf of the said Alexis I.
 Camacho AKA Alexis Idilio Camacho, and that his/her authority to execute and acknowledge said
 instrument is contained in an instrument duly executed, acknowledged, and recorded in the office of the
 Register of Deeds , in the county of Hoke , State of North Carolina, on the 6th day of November , 2006
                                                                                                        , and
 that this instrument was executed under and by virtue of the authority given by said instrument granting
                                                                                                           her
 power ofattorney.
 I do further certify that the said Damaris Camacho acknowledged the due execution of the foregoing
                                                                                                       and
 annexed instrument for the purposes therein expressed individually and for and in behalf of the
                                                                                                  said Alexis
 I Camacho AKA Alexis Idilio Camacho.

 Wit
  ~ne~~>thand and»ffleta~ seal, this the *th day of November, 20~6: \,.,. [L,r.          h,
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       V.A. GUARANTEED LOAN AND ASSUMPTION POLICY R-IDER
NOTICE: THIS                              LOAN              IS        NOT         ASSUMABLE
WITHOUT                             THE               APPROVAL                          OF            THE
DEPARTMENT OF VETERANS AFFAIRS OR                                      CAMACHO

ITS AUTHORIZED AGENT.                                                  LOAN #:
                                                                       MIN:
                                                                      CASE   #:

THIS V.A. GUARANTEED LOAN AND ASSUMPTION POLICY RIDER is made this                        6TH        day of
NOVEMBER , 2006                               , and is incorporated into and shall be deemed to amend and
supplement the Mortgage, Deed of Trust, or Deed to Secure Debt (herein "Security Instrument") dated of even
date herewith. gi ven by the undersigned (herein "Borrower") to secure Borrower's Note to
CAROLINA MORTGAGE CO. OF FAYETTEVILLE

(herein "Lender") and covering the property described in the Security Instrument and located at
146 HARLON COURT, RAEFORD, NC 28376
                                                 (Property Address)
V. A . GUARANTEED LOAN COVENANT : In addition to the covenants and agreements made in the Security
Instrument, Borrower and Lender further covenant and agree as follows:
If the indebtedness secured hereby be guaranteed or insured under Title 38, United States Code, such Title and
Regulations issued thereunder and in effect on the date hereof shall govern the rights, duties and liabilities of
Borrower and Lender.        Any provisions of the Security Instrument or other instruments executed in connection
with said indebtedness which are inconsistent with said Title or Regulations, including, but not limited to, the
provision for payment of any sum in connection with prepayment of the secured indebtedness and the provision
that the Lender may accelerate payment of the secured indebtedness pursuant to Covenant 18 of the Security
Instrument, are hereby amended or negated to the extent necessary to conform such instruments to said Title or
Regulations.


LATE CHARG E : At Lender's option, Borrower will pay a " late charge " not exceeding four per centum 0 %) of
the overdue payment when paid more than fifteen (15) days after the due date thereof to cover the extra expense
involved in handling delinquent payments, but such "late charge" shall not be payable out of the proceeds of any
sale made to satisfy the indebtedness secured hereby, unless such proceeds are sufficient to discharge the entire
indebtedness and all proper costs and expenses secured hereby.

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GUARANTY : Should the Department of Veterans Affairs fail or refuse to issue its guaranty in full amount
within 60 days from the date that this loan would normally become eligible for such guaranty committed upon
by the Department of Veterans A ffairs under the provisions of Title 38 of the U.S. Code "Veterans Benefits,"
the Mortgagee may declare the indebtedness hereby secured at once due and payable and may foreclose
immediately or may exercise any other rights hereunder or take any other proper action as by law provided.

TRANSFER OF THE PROPERTY : This loan may be declared immediately due and payable upon transfer of
the property securing such loan to any transferee, unless the acceptability of the assumption of the loan is
established pursuant to Section 3714 of Chapter 37, Title 38, United State Code.
An authorized transfer ("assumption") of the property shall also be subject to additional covenants and
agreements as set forth below:

          (a) ASSUMPTION FUNDING FEE: A fee equal to one-half of one percent (0.50%) of the balance of
this loan as of the date of transfer ofthe property shall be payable at the time of transfer to the loan holder or its
authorized agent, as trustee for the Department of Veterans Affairs. I f the assumer fails to pay this fee at the
time of transfer, the fee shall constitute an additional debt to thal already secured by this instrument, shall bear
interest at the rate herein provided, and at the option of the payee of the indebtedness hereby secured or any
transferee thereof, shall be immediately due and payable. This fee is automatically waived if the assumer is
exempt under the provisions of 38 U.S.C. 3729 (c)

          (b) ASSUMPTION PROCESSING CHARGE: Upon application for approval to allow assumption and
transfer of this loan, a processing fee may be charged by the loan holder or its authorized agent for determining
the creditworthiness of the assumer and subsequently revising the holder's ownership records when an approved
transfer is completed. The amount of this charge shall not exceed the maximum established by the Department
of Veterans Affairs for a loan to which Section 3714 of Chapter 37, Title 38, United States Code applies.

         (c) ASSUMETION INDEMNITY LIABILITY- If this obligation is assumed, then the assumer hereby
agrees to assume all of the obligations of the veteran under the terms of the instruments creating and securing
the loan. The assumer further agrees to indemnify the Department of Veterans Affairs to the extent of any claim
payment arising from the guaranty or insurance of the indebtedness created by this instrument.




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IN WITNESS WHEREOF, Borrowe{(s) has executed this V.A. Guaranteed Loan and Assumption Policy Rider.

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                            PLANNED UNIT DEVELOPMENT RIDER
                                                                                    CAMACHO
                                                                                   LOAN #:
                                                                                   MIN:

        THIS PLANNED UNIT DEVELOPMENT RIDER is made this 6TH day of NOVEMBER 2006
and is incorporated into and shall be deemed to amend and supplement the Mortgage, Deed of Trust, or Security
Deed (the "Security Instrument") of the same date, given by the undersigned (the "Borrower") to secure
Borrower ' s Note to CAROLINA MORTGAGE CO . OF FAYETTEVILLE


(the "Lender") of the same date and covering the Property described in the Security Instrument and located at:
146 HARLON COURT, RAEFORD, NC 28376

                                                [Property Address]
The Property includes, but is not limited to, a parcel of land improved with a dwelling, together with other such
parcels and certain common areas and facilities, as described in
THE COVENANTS CONDITIONS AND RESTRICTIONS FILED OF RECORD THAT
AFFECT THE PR6PERTY.


(the "Declaration"). The Property is a part of a planned unit development known as
OAKS AT WESTGATE
                                         [Name of Planned Unit Development]
(the "PUD"). The Property also includes Borrower's interest in the homeowners association or equivalent entity
owning or managing the common areas and facilities of the PUD (the "Owners Association") and the uses,
benefits and proceeds of Borrower ' s interest .
          PUD COVENANTS. In addition to the covenants and agreements made in the Security
          Instrument, Borrower and Lender further covenant and agree as follows:
                  A.    PUD Obligations . Borrower shall perform all of Borrower' s obligations under the
          PUD's Constituent Documents. The "Constituent Documents" are the (i) Declaration; (ii)
          articles of incorporation, trust instrument or any equivalent document which creates the Owners




MULTISTATE PUD RIDER--Single Family--Fannie Mae/Freddie Mac UNIFORM INSTRUMENT        Form 31501/01
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BY SIGNING BELOW, Borrower accepts and agrees to the terms and provisions contained in this PUD Rider.

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 - BORROWER - ALEXIS I CkBACHO - DATE -
  AKA AlexAf Idilio Camacho by Damaris Camacho, rA,IF
                                    i.., , VO Z N Jrl
Larls-i-REO
 - BORROWER - DAMARIS CAMACHO - DATE -




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